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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
                                                                 :
MICHAEL UNDERWOOD,
                                                                 :
                                      Plaintiff,                 :   18-CV-6664 (RJS) (OTW)
                                                                 :
                     -against-                                   :   SCHEDULING ORDER
                                                                 :
TAFSC HOUSING DEVELOPMENT FUND                                   :
CORPORATION, et al.,                                             :
                                                                 :
                                      Defendants.                :
-------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         This matter has been referred to the undersigned for settlement purposes. The Court

will hold a Pre-Conference Telephone Call on Friday, September 14, 2018 at 12:00 p.m. Please

call Chambers at 212-805-0260 when all counsel are on the line.


         SO ORDERED.



                                                                     s/ Ona T. Wang
Dated: August 29 ,2018                                                          Ona T. Wang
       New York, New York                                              United States Magistrate Judge
